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                              IN THE UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TEXAS
                                       BEAUMONT DIVISION

  Jessica Reyes and Gissela Lopez, On                          §
  Behalf of Themselves and Similarly                           §
  Situated Employees,                                          §
                                                               §
          Plaintiffs,                                          §        Civil Action No.: 1:17-cv-00016
  v.                                                           §
                                                               §
  Bona 1372, Inc., Bona 1900, Inc.                             §
  and Hnreck Nazarian a/k/a                                    §
  Nazarian Enterprises d/b/a IHOP                              §
  (“International House of Pancakes”),                         §
                                                               §
          Defendants.                                          §


   DEFENDANTS’ SUPPLEMENT TO OPPOSITION TO PLAINTIFFS’ MOTION TO
  CONDITIONALLY CERTIFY AN FLSA COLLECTIVE ACTION AND SEND NOTICE


          Defendants file this Supplement to Opposition to Plaintiffs’ Motion to Conditionally

  Certify an FLSA Collective Action and Send Notice.

          Along with 49 other affidavits establishing that Defendants’ pay overtime wages and do

  not require its employees to work under pseudonyms, Defendants submitted the affidavit of Luis

  Chay in support of their Opposition to Plaintiffs’ Motion to Certify. See affidavit of Luis Chay,

  dated May 24, 2017 attached as part of Exhibit 2 to Doc. #38. 1 In a desperate attempt to diffuse

  this overwhelming evidence that Defendants have not violated the FLSA, Plaintiffs cherry-

  picked Mr. Chay’s (an employee who worked directly under Plaintiff Gissela Lopez) affidavit

  from the group alleging that Mr. Chay did not understand the substance of the affidavit he signed

  because, according to Gissela Lopez, he does not read or speak English. See Plaintiffs’ Reply to


  1
   For the Court’s convenience, a copy of Mr. Chay’s May 24, 2017 affidavit is attached to this supplement as Exhibit
  A.

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  Motion, at p. 3, Doc. #46 (“Reply”). Specifically, Plaintiffs contend that because Defendants did

  not produce a translator’s certificate that “there is no way to know whether Luis Chay

  comprehended the substance, intent, meaning and ramifications of what he was signing.” Id. at

  p. 21. Plaintiffs are wrong. First, Mr. Chay admits that Wifredo Perdomo served as a Spanish

  interpreter at the time he signed the affidavit on May 24, 2017, and second, Mr. Chay testified

  that he understood what Ms. Longoria asked him about his employment at IHOP, the same

  matters contained in his affidavit. See affidavit of Luis Alfredo Chay, dated June 22, 2017,

  attached as Exhibit B.

          Next, Plaintiffs wildly speculate that “the circumstances strongly suggest that Luis Chay

  was required to sign the May 24, 2017 affidavit either with no understanding of what he was

  signing, signed under threat of retaliation or termination, or signed as the result of promised of

  other consideration in exchange for his signature.” Reply at p. 4. Because there is no evidence to

  support their speculation, Plaintiffs are forced to speculate that Mr. Chay “might well have been

  promised continued employment, a wage increase, or other consideration in exchange for signing

  the document.” Id. at p. 21 (emphasis added). Plaintiffs’ speculation is wrong and defamatory. 2

          Further, Mr. Chay’s affidavit executed on July 13, 2017 contains inadmissible conclusory

  and speculative statements, including:

              •    “I was required by Bona 1900 to work under two names and two social security
                   numbers so that Bona 1900 could avoid paying me overtime wages.”

  Mr. Chay fails to provide any foundation establishing he has any knowledge of Bona 1900’s

  payroll policies and practices, the purpose of Bona 1900’s payroll policies and practices, or the

  basis for such knowledge.

  2
    For clarification, in their Motion for Leave to file this supplement, Defendants inadvertently miscounted the
  number of contradictory affidavits executed by Luis Chay in this matter. Mr. Chay has only provided three such
  affidavits, not four.


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         Likewise, Mr. Chay fails to provide any foundation for his conclusory statement that he

  was bullied and coerced:

             •   “I was put in a room by representatives of Bona 1900 was bullied and coerced
                 into signing those documents.”

  See Exhibit A to Plaintiffs’ Supplement to Reply, Doc. #54.

         Nevertheless, in an abundance of caution, Defendants met with Mr. Chay on June 22,

  2017 along with Lanne Manzanares who served as a Spanish interpreter. See Affidavits of Lanne

  Manzanares and Minnie Longoria, attached as Exhibits C and D, respectively. Ms. Manzanares

  and Ms. Longoria were present during the entire meeting at which Mr. Chay was told, in

  Spanish, about the statements made in the Plaintiffs’ Reply about his May 24, 2017 affidavit. Id.

  Throughout the meeting, Mr. Chay told everyone that he understood what was being discussed

  and when he didn’t understand or had a question, he said so and asked for more information. Id.

  It was repeatedly discussed with Mr. Chay that it was very important that he tell the truth, and

  that he should sign the affidavit that day only if everything in it was true and correct. Id. On June

  22, Mr. Chay signed an affidavit after he read the copy drafted in Spanish. See Exhibits B, C and

  D. Defendants have never bullied or coerced anyone, including Luis Chay, Gissela Lopez or her

  husband Gerardo Lomeli, into signing an affidavit or statement pertaining to over-time issues or

  anything else. See Exhibits C and D. Plaintiffs’ speculation about Mr. Chay’s affidavits lack

  merit and should not be considered. Likewise, the self-serving, self-contradicting statements

  made by Gissela Lopez in her February 28, 2017 affidavit that Jesus Reyna forced her to sign an

  affidavit in June 2016, lack merit and should not be considered. See Doc. #46-1, pp. 21-22

  (affidavit of Gissela Lopez).

         Plaintiffs, on the other hand, actually attempted to intimidate fact witness, Ivy Lozano.

  Gissela Lopez contacted Ms. Lozano and asked if they could meet. Ms. Lopez told her she was

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  suing IHOP and Mr. Nazarian. See Affidavit of Ivy Lozano attached as Exhibit E. When asked

  why she was suing Mr. Nazarian, Ms. Lopez told Ms. Lozano that she “got caught” and that

  Jesus Reyna would not cover for her. Id.

          Ms. Lozano agreed to meet Gissela Lopez. Instead of Lopez, Plaintiffs’ attorney and a

  notary public arrived at Ms. Lozano’s place of work and asked her to sign a prefabricated

  affidavit stating that the IHOP restaurants owned by Mr. Nazarin do not pay employees overtime

  wages. Id. Ms. Lozano refused to sign the affidavit because the statements in it were not true.

  Id. In fact, while working at multiple IHOPs owned by Mr. Nazarian, Ms. Lozano witnessed all

  employees being properly paid, including overtime pay. Id. When Ms. Lozano asked if she

  could have a copy of the affidavit to review, the attorney refused to provide her with a copy and

  left. Id. Ms. Lozano then contacted IHOP to inform the company of Plaintiffs’ attempt to

  procure a false affidavit. It is this desperate attempt by Plaintiffs to get Ms. Lozano to sign an

  affidavit that the Court should consider, not the third and twice contradicted affidavit of Luis

  Chay.

          WHEREFORE, Defendants respectfully submit this Supplement to Opposition to

  Plaintiffs’ Motion to Conditionally Certify an FLSA Collective Action and Send Notice, and ask

  that the Court deny Plaintiffs’ pending motion for conditional certification.




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  Dated: September 13, 2017

                                                     Respectfully Submitted,

                                                     HUGHES ROCH LLP

                                                     BY: /S/ CAROLYN D. ROCH
                                                     Carolyn D. Roch
                                                     Attorney-In-Charge
                                                     Texas Bar No. 00791152
                                                     1200 Smith Street, Suite 1550
                                                     Houston, Texas 77002
                                                     cdroch@hughesroch.com
                                                     Telephone: (713) 588-0890
                                                     Facsimile: (713) 456-2205

                                                     ATTORNEY IN CHARGE
                                                      FOR DEFENDANTS BONA 1372, INC.,
                                                     BONA 1900, INC. AND
                                                     HENRECK NAZARIAN
                                                     INDIVIDUALLY


                                CERTIFICATE OF SERVICE

  I certify that on September 13, 2017, a copy of Defendants’ Supplement to Opposition to
  Plaintiffs’ Motion to Certify and FLSA Collective Action and Send Notice was electronically
  filed on the CM/ECF system, which will automatically service a Notice of Electronic Filing on
  the following attorney in charge for Plaintiffs Jessica Reyes, Gissela Lopez and Oscar Atonal,
  On Behalf of Themselves and Similarly Situated Employees:

  T. Lynn Walden
  David D. Reynard, Jr.
  WaldenReynard, PLLC
  P.O. Box 7486
  Beaumont, Texas 77726
  Tele: 409.833.0202
  Fax: 409.832.3564
  twalden@wrtexaslaw.com
  dreynard@wrtexaslaw.com


                                                     /S/ CAROLYN D. ROCH
                                                     Carolyn D. Roch


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